
In re Magee, Dwayne; — Defendant(s); applying for supervisory and/or remedial writs; Parish of Lafayette, 15th Judicial District Court, Div. “I”, No. 58342; to the Court of Appeal, Third Circuit, No. KW91-0511.
Granted in part; denied in part. This case is remanded to the district court for reconsideration of the defendant’s motion to disqualify Assistant District Attorney Harson from prosecuting the state’s case at trial. If the district court determines that the state intends to introduce the videotape of the defendant’s confession, in which Harson appears as a witness to and a participant in the questioning, the court shall disqualify Harson from representing the state at trial. In all other respects, the application is denied.
